              Case 1:10-cr-00086-RWS-CMS Document 577 Filed 08/09/11 Page 1 of 3




                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF GEORGIA
                                             ATLANTA DIVISION

             UNITED STATES OF AMERICA,           :      CRIMINAL INDICTMENT
                                                 :
                                                 :      CASE NO. 1:10-CR-086-9-RWS-ECS
             v.                                  :
                                                 :
             KENEDIS BONILLA,                    :
                                                 :

                                       REPORT AND RECOMMENDATION

                  This matter is before the Court on the Defendant’s motions to

             suppress, as amended. [Doc. 344, 536].             The Court set the motions

             down for evidentiary hearing on May 12, 2011, and evidence was taken

             on the motions on that date.            At the conclusion of the hearing,

             Defendant’s counsel asked for time to review the transcript and file

             a brief or let the Court know that briefing was not necessary.                  A

             transcript of the hearing has now been prepared. [Doc. 550].                After

             review    of   the   transcript,   Counsel   has    advised   the   Court   that

             briefing would not be necessary.          As a result, the motions are now

             ready for a report and recommendation.               For the reasons stated

             herein, the undersigned RECOMMENDS that the motions to suppress be

             DENIED.

                  The motion, as amended, challenges the admissibility of certain

             photographs taken of Defendant and statements made by him to an off-

             duty Dekalb County police officer not long after midnight on June

             23, 2006, outside of the Club Chaparral on the Buford Highway. [Doc.

             536].     Testimony was given at the hearing by Detective Aubrey Lyda




AO 72A
(Rev.8/82)
              Case 1:10-cr-00086-RWS-CMS Document 577 Filed 08/09/11 Page 2 of 3




             who testified that he was working off-duty at the nightclub on that

             date when he encountered Defendant in the parking lot in front of

             the Club. [T. 9].    Detective Lyda noticed Defendant’s tattoos and

             asked him if he would talk to him “for a second.” [T. 10-11           ].

             Defendant agreed to talk. Detective Lyda asked Defendant about the

             tattoos and his possible affiliation with a gang called MS-13. [T.

             11].    During this encounter, Detective Lyda asked Defendant if he

             could take photographs of Defendant, the tattoos on his hands and

             chest, and his driver’s license. [T. 17]. Gov. Exh. 1,2,3,4,5.

             Defendant agreed to allow the photographs.           At the end of the

             encounter, Defendant went into the club.       [T.32]

                    The evidence from Detective Lyda revealed that the entire

             encounter outside the nightclub lasted maybe five minutes [T. 18];

             that it was casual [T. 19]; that Defendant was cordial and polite

             and cooperative [T. 12, 19], and that he voluntarily pulled up his

             shirt to show his tattoos [T. 14-15]; that Defendant was not placed

             under arrest [T. 18]; that he was not handcuffed or restrained in

             any way [T. 16, 18]; that Defendant volunteered the information he

             gave the detective and talked freely to him during the encounter [T.

             36].

                    Based upon the testimony adduced at the hearing, the Court

             concludes that the encounter between Detective Lyda and Defendant

             was a strictly consensual, noncustodial encounter that did not

                                                 2




AO 72A
(Rev.8/82)
              Case 1:10-cr-00086-RWS-CMS Document 577 Filed 08/09/11 Page 3 of 3




             implicate the Fourth Amendment or Miranda v. Arizona, 384 U.S. 436,

             478-79 (1966)(Miranda applies to custodial interrogations).              See

             United   States   v.    Jordan,   635    F.3d   1181,   1186   (11th    Cir.

             2011)(Consensual encounters do not implicate the Fourth Amendment.)

             Defendant’s path was not blocked or impeded; his identification was

             not retained; no weapons were displayed; he was not physically

             touched; the encounter was very brief; the encounter as a whole,

             including the tone of voice, was casual and not coercive.             Id. By

             not filing a brief, Defendant has in essence acceded to these

             findings by not presenting argument. Accordingly, the motions to

             suppress [Doc. 344, 356] should be DENIED.

                  SO REPORTED AND RECOMMENDED, this 9th day of August, 2011.



                                                     /s/ E. Clayton Scofield III
                                                     E. Clayton Scofield III
                                                     UNITED STATES MAGISTRATE JUDGE




                                                 3




AO 72A
(Rev.8/82)
